92 F.3d 218
    GIANT EAGLE, INC.v.FEDERAL INSURANCE COMPANY, Appellant.
    No. 95-3300.
    United States Court of Appeals,Third Circuit.
    Sept. 20, 1996.
    
      Present:  BECKER, McKEE, Circuit Judges, and POLLAK, District Judge.*
      ORDER
      BECKER, Circuit Judge.
      The Petition for Rehearing before the panel is hereby granted.  The Clerk shall relist the matter for oral argument at the convenience of the panel.  Counsel shall communicate to the Clerk forthwith the dates of their availability.  The panel opinion of August 9, 1996, is hereby vacated.
    
    
      
        *
         Honorable Louis H. Pollak, United States District Judge for the Eastern District of Pennsylvania, sitting by designation
      
    
    